                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:07 CR 33-12


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
TERRANCE BRADLEY THOMPSON,                    )
                                              )
                 Defendant.                   )
____________________________________          )


        THIS CAUSE coming on to be heard before the undersigned pursuant to a

Violation Report (#599) filed by the United States Probation Office alleging that

Defendant had violated terms and conditions of his prehearing release. At the call

of this matter on May 1, 2017, it appeared that Defendant was present with his

counsel, Anthony Alan Coxie, and the Government was present through AUSA

Donald Gast. From the evidence offered and from the statements of the Assistant

United States Attorney and the attorney for the Defendant, and the records in this

cause, the Court makes the following findings.

        Findings: At the call of this matter, Defendant, by and through his attorney,

admitted the allegations contained in the Violation Report.

        A Petition (#588) was filed on March 14, 2017 presenting allegations that

Defendant had violated the terms and conditions of his supervised release by testing


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positive for the use of cocaine, oxycodone, marijuana and Percocet. A hearing was

held in regard to the detention of Defendant on March 22, 2017. On that date, the

undersigned entered an Order releasing the Defendant on a $25,000 unsecured bond.

The undersigned further set conditions of release which included the following:

        (1)   The defendant must not violate any federal, state or local law while on

              release.

        (8)(p) Defendant is to refrain from use or unlawful possession of a narcotic

              drug or other controlled substances defined in 21 U.S.C. § 802, unless

              prescribed by a licensed medical practitioner.

        On April 19, 2017 Defendant submitted to an urinalysis drug test at which

time Defendant tested positive for the use of oxycodone. Defendant did not have a

valid prescription for this medication.

        Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial officer

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        (1)    finds that there is----
               (A) probable cause to believe that the person has committed a
        Federal, State, or local crime while on release; or
               (B) clear and convincing evidence that the person has violated any
         other condition of release; and
        (2) finds that ---
               (A) based on the factors set forth in section 3142(g) of this title, there
        is no condition or combination of conditions of release that will assure that

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      the person will not flee or pose a danger to the safety of any other person or
      the community; or
            (B) the person is unlikely to abide by any condition or combination
      of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.”

      Based upon the evidence, the undersigned finds there is probable cause to

believe Defendant committed at least a state crime while on release. The possession

and use of oxycodone without a valid prescription is at least a misdemeanor under

state law. N.C.G.S. § 90-95(a)(3).

      There has been shown by clear and convincing evidence that Defendant

violated the condition of release that required that he refrain from use or unlawful

possession of a narcotic drug unless prescribed by a licensed medical practitioner.

The Defendant tested positive for the use of oxycodone on April 19, 2017 and

Defendant did not have a valid prescription for this medication.

      Due to the findings made above and further considering the factors as set forth

under 18 U.S.C. § 3142(g), it appears there is no condition or combination of

conditions of release that will assure that Defendant will not pose a danger to the

safety of any other person or the community. It is the opinion of the undersigned

that based upon Defendant’s actions, it is unlikely that Defendant will abide by any


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condition or combination of conditions of release.          As a result of the above

referenced findings, the undersigned has determined to enter an order revoking the

unsecured bond and the terms of pretrial release previously issued in this matter and

entering an order detaining Defendant.

                                       ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and the terms

and conditions of release (#595) are hereby REVOKED and it is ORDERED that

Defendant be detained pending further proceedings in this matter.




                                             Signed: May 2, 2017




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